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IN THE UNITED STATES BANKRUPTCY COURT 2893 DEC -7 PM 12: 33

FOR THE DISTRICT OF DELAWARE

In re: Chapter 11
Prime Core Technologies Inc., et al. Case No. 23-11161 (JKS)
Debtors. (Jointly Administered)

Obj. Deadline: Dec. 14, 2023 at 4:00 p.m. (ET)

Hearing Date: Dec. 19, 2023 at 10:00 a.m. (ET)

RESPONSE TO DEBTORS’ FIRST (SUBSTANTIVE) OMNIBUS

OBJECTION TO CERTAIN FILED PROOFS OF CLAIM

COMES NOW, the Creditors, Shyam Sundar Aswadha Narayanan (Prime Trust Account
Number: a. Email: a.n.shyamsundar@gmail.com), and Latha Narayanan (Prime
Trust Account Number: Email: lathanaru@gmail.com), acting pro se, and
strongly object to the Debtors’ self-serving deliberate, blatant and prima facie false statements
pertaining to them in Document 436 of the aforementioned case that seeks to absolve them of

liabilities owed to the Creditors.

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Shyam Sundar Aswadha Narayanan’s Claim Number is 239, with a listed claim of $14058.19
and Latha Narayanan’s Claim Number is 240, with a listed claim of $191251.41 both computed
due as of August 14, 2023. The methodology for this computation has previously been described
in the respective original claim exhibits, Put simply, as stated in the original claim statement(s)
and exhibits, these claim amounts reflect the principal plus the contractually accrued interest the
Creditors are owed as a result of monies held on trust by Prime Trust and linked to a Prime Trust

Account for their direct client’s (MyConstant) customers, who are the Creditors herein.

The Creditors herein are related by familial ties, and have interrelated claims that are of a similar
nature with Latha Narayanan having previously granted Shyam Sundar Aswadha Narayanan an
interest as an equal, joint account holder to funds in her account by means of express, signed

declaration in writing, as indicated by attached exhibits in Latha Narayanan’s original claim.

The Debtors object to both the Creditors’ claims (Exhibit 1 - Document 436-2; Pages 6 of 78
and 21 of 78) while stating that “Upon review of the Debtors' Books and Records, the Debtors
have no information about this claimant, any amount owed to this claimant, or any reason to
know who this claimant is.”. This statement by the Debtors is not only prima facie factually false
beyond any reasonable doubt; it is also deliberately misleading and fraudulent in light of the

following grounds and circumstances:

|. Factually false statements, the falsity of which the debtors knew or ought to know:

The Debtors have themselves previously provided a signed copy of a document titled
“Prime Trust New Account Agreement” dated June 11, 2021 to both the Creditors upon
inquiry (Exhibits 1 and 2). Further, Prime Trust has received Wire Transfer(s) from the

Creditor(s) in the past, and has also processed withdrawal(s) for credit into the Creditors’

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bank account(s) (Exhibits 3 and 4). In addition, Prime Trust couldn’t have established
accounts for the Creditors and provided Prime Trust account numbers without having any
information whatsoever about the account holders themselves. The written
communications (Exhibits 1 and 2) between the Creditors and Prime Trust shows that

Prime Trust knew exactly who the creditors were, contrary to their assertions.

To the Creditors’ knowledge, at least scores of MyConstant’s customer signatures have

been brazenly and illegally forged in a similar fashion by Prime Trust.

A rhetorical question that any reasonable person would ask is “How could Prime Trust,
which is supposed to be a regulated financial institution and a qualified custodian of
customer assets be unaware of who the customer is for an agreement to which it itself
claims to be a party, given prior history of transactional dealings and written
communications?”. The only logical explanation is that Debtors have made blatantly false
assertions that they themselves knew or ought to know were false in an attempt to reduce

their liabilities.

Forgery, fraud and aiding the commission of illegal acts:

The electronic signatures of the Creditors on the aforementioned “Prime Trust New
Account Agreement” dated June 11, 2021 have been deliberately and fraudulently forged

by Prime Trust without the Creditors’ knowledge or consent.

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The Debtor (Prime Trust) primarily provides services to businesses, and not individuals
(Exhibit 5). The Creditors are direct customers of a business named MyConstant (Legal
Name: Const LLC), to which Prime Trust provided custodial services for fiat currency.

Prime Trust acted as the trustee and regulated third party custodian to safeguard

MyConstant’s customer assets. The Creditors have been customers of MyConstant since

early 2020 and have had Prime Trust Account numbers assigned to them through

MyConstant and Prime Trust was aware of it (Exhibit 4). As indicated in the Creditors’
original claims, there was no direct contractual relationship between the Creditors and
Prime Trust; the Creditors are a third party beneficiary whose funds were escrowed,
safeguarded and held in trust by Prime Trust. MyConstant itself was evidently unaware of
Prime Trust’s forgery and the existence of such forged documents until very recently. At
no point of time were Creditors required or expected to enter into a direct contractual
relationship with Prime Trust through MyConstant, as explained by MyConstant’s

attorney, Mr. Jonathan Shenson (Exhibit 6).

Prime Trust has acted fraudulently by surreptitiously forging fraudulent agreements with
customer signatures containing terms favorable to it. Further, Prime Trust had unlawfully
engaged in money transmission business in several states, including the State of Texas,
with neither a money transmission license nor while being a registered business entity. In
addition, Prime Trust’s acts and omissions directly aided MyConstant and related
persons/entities to engage in unregistered sale of securities and unlicensed loan brokering

on the surface, while allowing such persons/entities to embezzle MyConstant’s customer

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funds held in trust by Prime Trust and use customer funds as their personal piggy bank

behind the scenes. (Exhibit 7)

Assumption of responsibility and fraudulent inducement:

Prime Trust, acting through its former Chief Executive Officer and Chief Trust Officer,

Scott Purcell, had publicly exhorted the general public to invest on the MyConstant

Platform, while stating to the effect that “Prime Trust has got MyConstant’s customers’

back” and that Prime Trust holds MyConstant’s customers’ assets in a trust and that
MyConstant couldn’t touch customer assets as a result. Any reasonable person relying on
these statements would be led to believe that Prime Trust acted as a check against any
potential theft or illegal dealings while ensuring that its direct client (MyConstant) is
operating in accordance with prevailing law, backed by FDIC insurance of up to $130
million for each customer (Exhibit 8). This also comports well with the message
displayed on MyConstant’s portal (which integrates with Prime Trust) pertaining to
escrow of customer assets and FDIC insurance of up to $130 million per Tax ID
(Screenshots as to the escrow are also provided in the original Creditors’ claim

statements).

None of these statements were true. MyConstant, acting through its founder and CEO,
Duy Huynh, embezzled MyConstant’s customer funds, while Prime Trust failed to
perform any due diligence whatsoever on the use of MyConstant customer monies held

by it on trust. Prime Trust monetarily benefited from its direct client’s (MyConstant)

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embezzlement. Prime Trust stood to collect more in form of fees from MyConstant as

MyConstant’s clients deposited money on the MyConstant Platform through Prime Trust.

CONCLUSION AND PRAYER

In summary, Prime Trust’s objections to the Creditors’ claims are blatantly, prima facie false.
Prime Trust’s meritless objections, as the above circumstances show, are intentionally made in
an effort to cover its own bad faith illegal acts behind the scenes, from which it had derived a

monetary benefit.

The Creditors pray that the Debtors’ objections be disregarded and further pray that the Court

direct the Debtors to pay the Creditors’ claims in full and make the Creditors whole.

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EXHIBIT 1: SHYAM SUNDAR ASWADHA NARAYANAN’S RELEVANT PAGES OF

“PRIME TRUST NEW ACCOUNT AGREEMENT”

Logan (Prime Trust- Customer Success)

Helio Shyam,

After talking with our internal teams, Iam able to provide the Account Agreement. Here is 3 secure link to the agreement.

httos://drive.google.com/file/d/LUDVVWbXbCLIKNWwPF_ vi /view?uso=share link
*This link will expire on 12/20/2022

Respectfully,

Logen

lezPame Trust

330 5. Rampart, Suite 260
Summertin, NV 89145

Shyam Sundar Aswadha Narayanan «a.n.shyamsundar@gmail com> Dec 14,2022,8:07PM xy @ & :

to Prime +
Logan,

As | mentioned in my previous email, there is no reason to believe that | signed or even saw this document on June 11, 2021. | have been a MyConstant
customer since early 2020, when the Prime Trust account should have been created by MyConstant

| have one more question: Tom Pageler was the CEO of Prime Trust on June 11, 2021 (He took over in January 2021, bttos//www.crowdfundinsider,

comv/2021/01/171688-pnme-trust-changes-tom-pageler-promoted-to-ceo-st olt-purcell-named-ceo-of-hoiding-company-prime-core-technologies/) and remained
Prime Trust's CEO until November 29, 2022. (hitps www crowdfundinsider.conv2022/11/199276-prime-trust-chanoes-jeadership-tom-nageler-out-as-ce0-jor-

aw-Steps-in-as-intenm-ceo/)

How did Scott Purcell, Prime Trust's ex-CEO come into picture here in the agreement? Also, at the tme when the document was allegedly signed. | am not even
normally awake. | would like to request an audit of the signature trail on this document to prove that it was indeed me who signed it. Can you please go ahead

with this process?

Shyam

Logan (Prime Trust- Customer Success)

Helio Shyam,

Currently, I have no updates to provide. However, this has been raised internally and nas been re-escalated, and as soon as I have more
information I will share a response.

Respectfully,
Logan

lee nme Trust

330 5. Rampart, Suite 260
Summeriin, NV 89145

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Prime Trust New Account Agreement

Shyam Sundar Aswadha Narayanan (“Account Holder’, “Customer”, “you, “your”) hereby requests and
directs that Prime Trust, LLC (“Prime Trust”, “Custodian’, “we’, “our*, “us"), a Nevada chartered trust
company, establish a Prime Asset Custody Account ("Account") for and in the name of Account Holder,
and to hold as custodian all assets deposited to, or collected with respect to such Account, upon the
following terms and conditions:

1. APPOINTMENT OF CUSTODIAN:

Account Holder hereby appoints Prime Trust to be custodian of and to hoid or process as directed all
securities, currency, cryptocurrency, and other assets of Account Holder (hereinafter referred to as
“Custodial Property”) that are delivered to Custodian by Account Holder or Account Holder's Agent(s) (as
defined below) to the Account in accordance with the terms of this Agreement.

2. SELF-DIRECTED INVESTMENTS:

a, This Account is a self-directed Account that is managed by Account Holder and/or Account Holder's
Agents. Prime Trust will act solely as custodian of the Custodial Property and will not exercise any
investment or tax planning discretion regarding your Account, as this is solely your responsibility
and/or the responsibility of advisors, brokers and others you designate and appoint as your agent
for your Account (“Agents”), if any. Prime Trust undertakes to perform only such duties as are
expressly set forth herein, all of which are ministerial in nature.

b. Asa self-directed Account, you acknowledge and agree that:

i. The value of your Account will be solely dependent upon the performance of any asset(s)
chosen by you and/or your Agents.

ii. Prime Trust shall have no duty or responsibility to review or perform due diligence on any
investments or other Custodial Property and will make absolutely no recommendation of
investments, nor to supervise any such investments. You will perform your own due diligence
on all investments and take sole responsibility for all decisions made for your Account.

iii, Prime Trust does not provide any valuation or appraisals of Custodial Property, nor does it hire
or seek valuations or appraisals on any Custodial Property, provided, however, it may, at its
option and with no obligation or liability, to the extent available for any particular asset,
include recent price quotes or value estimates from various third-party sources, including but
not limited to SEC-registered exchanges and alternative trading systems, digital asset
exchanges, and real estate websites on your statement for any such Custodial Property. Prime
Trust will not be expected or obligated to attempt to verify the validity, accuracy or reliability of
any such third-party valuation, valuation estimates or prices and you agree that Prime Trust
shall in no way be held liable for any such valuation estimates or price quotations. Prime Trust
shall simply act ina passive, pass-through capacity in providing such information (if any) on
your Account statements and that such valuation estimates or price quotations are neither
verified, substantiated nor to be relied upon in any way, for any purpose, including, without
limitation, tax reporting purposes. You agree to engage a professional, independent advisor for
any valuation opinion(s) you want on any Custodial Property.

c. Account Holder will not direct or permit its Agents to direct the purchase, sale or transfer of any
Custodial Property which is not permissible under the laws of Account Holder's place of residence
or illegal under US federal, state or local law. Account Holder hereby warrants that neither you nor
your Agents will enter into a transaction or series of transactions, or cause a transaction to be
entered into, which is prohibited under Section 4975 of the Internal Revenue Code. Pursuant to the
directions of the Account Holder or Agent(s), Prime Trust shall process the investment and

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25. SUBSTITUTE IRS FORM W-9
Under penalties of Perjury, Account Holder certifies that: (1) The tax identification number
provided to Prime Trust by Account Holder, if Account Holder is a US person, is the correct
taxpayer identification number and (2) Account Holder is not subject to backup withholding
because: (a) Account Holder is exempt from backup withholding, or, (b) Account Holder has not
been notified by the Internal Revenue Service (IRS) that it is subject to backup withholding.
Account Holder agrees to immediately inform Prime Trust in writing if it has been, or at any time
in the future is notified by the IRS that Account Holder is subject to backup withholding. Account
Holders acknowledge that failing to provide accurate information may result in civil penalties.

Agreed as of 11 of June, 2021 by and between:

SIGNATURE:
Owner:
Name: Shyam Sundar Aswadha Narayanan
Email: A.N.SHYAMSUNDAR@GMAIL.COM
Title: Owner
Date: June 11, 2021, 11:22:58 AM UTC

Signature ID: 0699746a-d924-46£2-8b35-4276ed539fa3

PRIME TRUST, LLC

Prime Trust:

Set Purcall

Name: Scott Purcell
Email: scott(@primetrust.com
Company: Prime Trust

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Title: Chief Trust Officer
Signature ID: 17859984-3691-429c-b3c4-2b89n4030d64

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EXHIBIT 2: LATHA NARAYANAN’S RELEVANT PAGES OF

“PRIME TRUST NEW ACCOUNT AGREEMENT”

LATHA NARAYANAN <lsthanaru®@e:nail.com> Wed. Dec 14,2022 4:16PM ogy t

ta Prime, A ¥

Hi Brittany.

Is there an estimated date by which you could reasonably expect to obtain a copy of the agreement that is alleged to have been signed by me? ! don't remember
seeing or signing anything whatsoever pertaining to Prime Trust when | signed up with MyConstant.

Thank you,
Latha Narayanan

Brittany (Prime Trust- Customer Success)

Helio Latha,

Please see the attached agreement as you requested. I am still waiting on an answer from Compliance about adding your son to your
account.

Respectfully,
Brittany D.
lacPcime Trust

Technica! Support Engineer
330 5S. Rampart, Suite 260
Summeriin, NV 89145,

LATHA NARAYANAN «<lathanaru@gmail.com> © vec 2022 7:46PM fe :

to Prime, A +

Hi Brittany.
| wanted to bring to your attention that:

1.) This document isn't signed by me at all, and couldn't have been signed by me. In fact, my account was opened over one year through MyConstant prior to the
date mentioned in the agreement, and | have been transacting on a regular basis.

2.) | have no record nor recollection of these terms and conditions being shown to me at the time of signup. In fact, MyConstant's Terms of Service makes no mention
of these to date | just don't understand how my signature has been forged, and the date matches that of my son's agreement (which he didn't sign or see either) and
he had signed up with MyConstant even prior to me.

3.) Prime Trust itself has no account linked to my email (attached)

4.) Prime Trust clearly says in its FAQs that the MyConstant is its customer. How can | even be named the “Owner” in this agreement then? Besides, Prime Trust is a
Business to Business service. How could an individual like me even have signed this?

(bttes://support or milhcjen-ys/: Jes/1074 427739-M nl-FAQ-)

Can you please explain what is going on?

Thank you
Latha Narayanan

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Prime Trust New Account Agreement

Latha Narayanan (“Account Holder’, “Customer”, “you", “your") hereby requests and directs that Prime
Trust, LLC (“Prime Trust”, “Custodian’, “we", “our”, “us”), a Nevada chartered trust company, establish a

Prime Asset Custody Account ("Account") for and in the name of Account Holder, and to hold as

custodian all assets deposited to, or collected with respect to such Account, upon the following terms and
conditions:

1. APPOINTMENT OF CUSTODIAN:

Account Holder hereby appoints Prime Trust to be custodian of and to hold or process as directed all
securities, currency, cryptocurrency, and other assets of Account Holder (hereinafter referred to as
“Custodial Property”) that are delivered to Custodian by Account Holder or Account Holder's Agent(s) (as
defined below) to the Account in accordance with the terms of this Agreement.

2. SELF-DIRECTED INVESTMENTS:
a, This Account is a self-directed Account that is managed by Account Holder and/or Account Holder's

Agents. Prime Trust will act solely as custodian of the Custodial Property and will not exercise any
investment or tax planning discretion regarding your Account, as this is solely your responsibility
and/or the responsibility of advisors, brokers and others you designate and appoint as your agent
for your Account {"Agents”), if any. Prime Trust undertakes to perform only such duties as are
expressly set forth herein, all of which are ministerial in nature.

b. Asa self-directed Account, you acknowledge and agree that:

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til.

The value of your Account will be solely dependent upon the performance of any asset(s)
chosen by you and/or your Agents.

Prime Trust shall have no duty or responsibility to review or perform due diligence on any
investments or other Custodial Property and will make absolutely no recommendation of
investments, nor to supervise any such investments. You will perform your own due diligence
on all investments and take sole responsibility for all decisions made for your Account.

Prime Trust does not provide any valuation or appraisals of Custodial Property, nor does it hire
or seek valuations or appraisals on any Custodial Property, provided, however, it may, at its
option and with no obligation or liability, to the extent available for any particular asset,
include recent price quotes or value estimates from various third-party sources, including but
not limited to SEC-registered exchanges and alternative trading systems, digital asset
exchanges, and real estate websites on your statement for any such Custodial Property. Prime
Trust will not be expected or obligated to attempt to verify the validity, accuracy or reliability of
any such third-party valuation, valuation estimates or prices and you agree that Prime Trust
shall in no way be held liable for any such valuation estimates or price quotations. Prime Trust
shall simply act in a passive, pass-through capacity in providing such information (if any) on
your Account statements and that such valuation estimates or price quotations are neither
verified, substantiated nor to be relied upon in any way, for any purpose, including, without
limitation, tax reporting purposes. You agree to engage a professional, independent advisor for
any valuation opinion(s) you wanton any Custodial Property.

Account Holder will not direct or permit its Agents to direct the purchase, sale or transfer of any

Custodial Property which is not permissible under the laws of Account Holder's place of residence
or illegal under US federal, state or local law. Account Holder hereby warrants that neither you nor

your Agents will enter into a transaction or series of transactions, or cause a transaction to be

entered into, which is prohibited under Section 4975 of the Internal Revenue Code. Pursuant to the
directions of the Account Holder or Agent(s), Prime Trust shall process the investment and

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25. SUBSTITUTE IRS FORM W-9

Under penalties of Perjury, Account Holder certifies that: (1) The tax identification number
provided to Prime Trust by Account Holder, if Account Holder is a US person, is the correct
taxpayer identification number and (2) Account Holder is not subject to backup withholding
because: (a) Account Holder is exempt from backup withholding, or, (b) Account Holder has not
been notified by the Internal Revenue Service (IRS) that it is subject to backup withholding.
Account Holder agrees to immediately inform Prime Trust in writing if it has been, or at any time
in the future is notified by the IRS that Account Holder is subject to backup withholding. Account
Holders acknowledge that failing to provide accurate information may result in civil penalties.

Agreed as of 11 of June, 2021 by and between:

SIGNATURE:

Owner:

Name: Latha Narayanan

Email: lathanaru@ gmail.com

Title: Owner

Date: June 11, 2021, 11:25:18 AM UTC

Signature ID: a9017155-5ef4-4140-87a9-11867

PRIME TRUST, LLC

Prime Trust:

Seat Puncalll

Name: Scott Purcell
Email: scolt@primetrust.com
Company: Prime Trust

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Title: Chief Trust Officer
Signature ID: 67a362a6-0161-4685-5751-5n321d2792639

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EXHIBIT 3: AN INSTANCE OF WIRE TRANSFER TO PRIME TRUST

HSBC 43>

HSBC Bank USA NA
482 Fifth Avenue
New York NY 10016-3801

Today's Date: July 19. 2024
RECEIPT

Sender: SHYAM SUNDAR ASWADHA
NARAYANAN
$170 FOREST LN
APT 225
DALLAS, TX 75243
United States
+1 469-205-8862

Recpent Prime Trust, LLC
330 S RAMPART BLVD
STE 260
LAS VEGAS NV
89145
United States
+1 (888) 616-8188

Pick-Up Location: ROYAL BUS!NESS BANK
1055 WILSHIRE BLVD

LOS ANGELES

90017

United States
Conematen cose:
Date Avadabie July 27, 2021
Transfer Amount : $1,001.00
Transfer Fees: Not Appicabie
Total $1,001.00

For questions, please contact us at 800-975-4722

Or you can write to:

HSBC Bank USA Nationa! Associaton
P.O. Box 2013

Buffalo, NY 14240

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EXHIBIT 4: PRIME TRUST PROCESSED CUSTOMER WITHDRAWALS

July 24,2020 = Page 2of3 A',14 OF Bh GS)
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Transaction history

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EXHIBIT 5: PRIME TRUST IS PRIMARILY A BUSINESS TO BUSINESS SERVICE

Source: https://www.youtube.com/watch?v=SWzdOCSQWcE

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business to business or our customers

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checks to transact inthe digital space

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really ensure that the infrastructure we

have in place grows with the market aa

We Bee Seeing growth on our side 90

oe cc es a English (auto-generated)

Prime Trust Raises $100M Series B Round to Expand Product Suite

Prime Trust =
’ i ce Oo: @ ¢o Share | = Save

= Wyoulube prime trust tom pageler x; 4

Transcript

109 touses

1:11 what we offer to our customers 50 were
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1:98 bank secrecy act ami

TA? yt any money launcering inoW your
11g customer checks to ensure that the
1:21 people theyre Wansacting with would
1:23 follow Ine rignt requistory tramewonis
1:25 t0 work ins traditional banking service

ei i:
dil ence a 7. Vs ie] 8) S18) 1:28 then we offer whats called payment
C+ ies cig = Mae English (auto-generated)

Prime Trust

121 subacrbers.

G

&) signin

@ Sign in

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EXHIBIT 6: MYCONSTANT WAS UNAWARE OF PRIME TRUST’S FORGERY

Shenson, Jonathan <jshenson@greenbergglusker.com> Mon, Jan 16, 2023 at 1:41 PM
To: Shyam Sundar Aswadha Narayanan <a.n.shyamsundar@gmail.com>

Mr. Sundar:

Through service agreements between Prime Trust and MyConstant, Prime Trust was MyConstant's “Custodian”. | cannot
speak to whether any MyConstant customers entered into a direct contractual relationship with Prime Trust. | can state
that when someone became a customer of MyConstant. there was no requirement or expectation (on the part of
MyConstant) that a MyConstant customer would be entering into a direct contractual relationship with Prime Trust. Until
very recently, MyConstant was not aware of the existence of any contracts between MyConstant customers and Prime
Trust.

Thank you,

Jonathan

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EXHIBIT 7: PRIME TRUST’S PATTERN OF VIOLATIONS AIDED FRAUD

https://cases.stretto.com/public/x 193/1 1753/PLEADINGS/1 175301042380000000177.pdf

https://portal.ct.gov/-/media/DOB/Enforcement/Consumer-Credit/2022-CC-Orders/Prime-Trust-

LLC-dba-Prime-TrustCO. pdf

https://www.finance.idaho.gov/legal/administrative-actions/money-transmitter/enforcement-

orders/documents/2022/11241-2022-12-05-primetrust-ao.pdf

https://www.dob.texas.gov/sites/default/files/files/Laws-Regulations/orders/2022-002.pdf

https://www.dobs.pa.gov/Documents/Enforcement%200rders/2022/052622%20Prime%20Trust

%20LLC%20CAO_Redacted.pdf

https://dfpi.ca.gov/wp-content/uploads/sites/337/2022/12/D-R-CONST-LLC.pdf?

https://csimt.gov/wp-content/uploads/2023/01/2022-01-12-Notice-of-Proposed-Agency-Action-

and-Temporary-Order-to-Cease-and-Desist.pdf

https://csimt.gov/wp-content/uploads/2023/1 1/2023-11-16-Notice-of-Proposed-Agency-Action-

and-Opportunity-for-Hearing-CONST-LLC. pdf

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EXHIBIT 8: BLOGPOST AND YOUTUBE VIDEO WITH SCOTT PURCELL

DESCRIBING PRIME TRUST’S ROLE

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soeglures

2 Feb 2000-33 4d 3007

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Blog 0 Getting started O How Prime Trust protects your assets in MyConstant

How Prime Trust protects your assets in MyConstant

(eidate February 21, 2019 [pctame 3 min read 2 1500 views

Jn our first guest blog, Scom Purcell explains how Prima Trust protects MyConstant’s UBD rasarve.
Hi there
T'm Scott Purcell, CEO and Chief Trust Officer at Prime Trust

We play a big role im guaranteeing MyConstant’s value and security, so I thought you might want to know a little more about us and what we do
First of all, let me explain what Prime Trust is.

Prime Trust is a trust company. We hold and protect people's cash and mon-cash assets, whether they be stocks, bonds, cryprocurrencies, tokens, real estate, or private business ownership interests.

Why use a trust company?
Many reasons — vsually when you need a regulated fmancial institution to protect your money, or when circumstances make holding and organizing them inconvenient to do yourself.

‘You might also want to hold a variety of different assets “on a single statement@®? to keep them organized, or you might want to protect them from loss, or need an independent trustee to avoid conflict with
others (such as in the splitting of an estate in probate).

For MyConstant, Prime Trust is the regulated, expert, neutral trustee of the USD reserve.

We comply with the rules, administer the paperwork, and make the necessary tax filings so MyConstenu can foeus on giving you the fastest, most efficient digital currency in the world.

The MyConstant Foundation, issuer of the MyConstent stablecoin, never touches the USD reserve. It can't. The USD is held m wust by Prime Trust for the exclusive benefit of token holders, which makes it
easy to exchange MyConstam back mto USD through the trustee (Prime Trust) whenever you want.

And since we're the trustee of the reserve, and therefore MyConstant can't touch the funds, you never need worry about MyConstant running off with your money or falling foul of financial regulations that
could shut MyConstant down.

Prime Trust is a chartered, regulated trast company that is overseen by the Nevada Financial Institutions Division. As a “BSA-subject@? financial instinnion, we perform Know Your Customer (KYC) checks
on everyone who creates or cashes out MyConstant to keep the MyConstant network in comphance with FinCEN and other regulations.

How does this work, behind the scenes?

Once we' ve performed KYC and completed AML (Ann-Money Laundering comphance), evervthing that happens on the blockchain 1s managed by a smart contract. A smart contract 1s a piece of code on the
kehaim. When certain conditions are met, the smart contract performs an action.

The great thmg about smart contracts 1s that they're completely nutomatic, saving time, money, and avoiding human error. And because they're built upon blockchan hnology, they’re ly difficult to
hack.

Here’s how the MyConstant smart contract works.

When you exchange fiat money for MyConstant. that fiat money comes straight through to to the trust that we oversee. MyConstant, the company, never touches it. Once we ye received your money and
completed AML, we notufy the smart contract and it creates new MyConstant tokens and sends them according to your structions, usually to your account at Prime Trust or your crypto wallet.

Likewise, when you exchange MyConstant for fiat money, the smart contract destroys your MyConstamr, and at the same time, tells us to release the equivalent fiat money to your bank account. Now, this isn't
an entirely trustless system. While the smart contract means you don’t have to trust MyConstant, you do have to trust us. However, as an dited and ion, the money you send us
in exchange for MyConstant is FDIC (Federal Deposit Insurance Corporation) insured to $130,000,000, thanks to the syndication of banks we work with (each capable of imdependently providing $250,000 in
direct FDIC coverage).

So, am the extremely unlikely scenario where Prime Trust funds were lost or stolen, the US government guarantees you don't lose out (up to the cumulative FDIC insurance limits). Unless you're currently
‘holding (or plan to hold) more than this amount as MyConstant, there's very little to worry about

‘Well, that just about sums us up. I hope you've found it useful. If you'd like to knew more about us, please visit our website where you'll find a treasure trove of mformation on compliance, trusts, and cur
asset system. In the ber that when vou deposit funds on MyConstant, we've got your back.

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Source: https://www.youtube.com/watch?v=B8rsUs_dBkA

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English (auto-generated)

Prime Trust CEO Scott Purcell: Why Custody Is So Important =

Me - MyConstant

Earn 4% APY
through
Instant-access
investing

Your balance is
escrowed with
Prime Trust and
insured to
$130,000,000.

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CERTIFICATE OF SERVICE

WE HEREBY CERTIFY that the foregoing document is being served this day, December 4,

2023, on all counsel of record or pro se parties in a manner or procedure authorized by law.

By:

/s/ Shyam Sundar Aswadha Narayanan
Shyam Sundar Aswadha Narayanan
/s/ Latha Narayanan

Latha Narayanan

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